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11

12                            UNITED STATES DISTRICT COURT

13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

14                                  SOUTHERN DIVISION

15   UNITED STATES OF AMERICA,                No. 8:21-CV-01310

16              Plaintiff,                    VERIFIED COMPLAINT FOR FORFEITURE

17                    v.                      18 U.S.C. §§ 981(a)(1)(C) and 984
18   $1,707,197.13 FROM FIDELITY
     INVESTMENT BANK FUNDS ACCOUNT            [IRS]
19   NUMBER ‘6516 AND $1,953.93 FROM
     FIDELITY INVESTMENT BANK FUNDS
20   ACCOUNT NUMBER ‘3501,

21              Defendants.

22

23

24

25         Plaintiff United States of America brings this claim against
26   defendants $1,707,197.13 From Fidelity Investment Bank Funds Account
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 1   Number ‘65161 and $1,953.93 From Fidelity Investment Bank Funds
 2   Account Number ‘3501, and alleges as follows:

 3                               JURISDICTION AND VENUE

 4         1.    This is an in rem civil forfeiture action brought pursuant

 5   to 18 U.S.C. §§ 981(a)(1)(C) and 984.

 6         2.    This Court has jurisdiction over the matter under 28 U.S.C.

 7   §§ 1345 and 1355.

 8         3.    Venue lies in this district pursuant to 28 U.S.C. § 1395.

 9                                PERSONS AND ENTITIES

10         4.    The plaintiff in this action is the United States of
11   America.
12         5.    The defendants in this action (collectively, the “defendant
13   funds”) are:
14                     i.    $1,707,197.13 From Fidelity Investment Bank Funds
15   Account Number 6516 (“Account 6516”), which is an account in the name
16   of Coastridge Capital Partners (“Coastridge”) and for which William
17   Nicoloff (“W. Nicoloff”) and Michelle Nicoloff (“M. Nicoloff”) has
18   signature authority; and
19                     ii.    $1,953.93 From Fidelity Investment Bank Funds

20   Account Number 3501 (“Account 3501”), which is an account in the name

21   of W. Nicoloff and M. Nicoloff and for which W. Nicoloff and M.

22   Nicoloff has signature authority.

23         6.    The defendant funds which were seized on or about October

24   20, 2020 during the execution of a federal seizure warrant at

25   Fidelity Investments located at 245 Summer Street, Boston

26

27         1Pursuant to Local Rule 5.2-1, only the last four digits of
     bank account numbers are set forth in this Complaint.
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 1   Massachusetts, 02210.

 2         7.    The defendant funds are currently in the custody of the

 3   United States Treasury Department in this District, where they shall

 4   remain subject to this Court’s jurisdiction during the pendency of

 5   this action.

 6         8.    The interests of W. Nicoloff, Coastridge, Bentley Energy

 7   Partners, LLC (“Bentley”), David Capital LLC (“David Capital”),

 8   Stonecreek Capital Partners (“Stonecreek”), M. Nicoloff, U.S. Small

 9   Business Administration (“SBA”) and Fidelity Investments (“Fidelity”)

10   may be adversely affected by these proceedings.

11                                BASIS FOR FORFEITURE

12   W. Nicoloff’s Fraudulent Scheme
13         9.    W. Nicoloff submitted loan applications for entities named
14   Bentley, Coastridge, David Capital, Stonecreek, M. Nicoloff, and W.
15   Nicoloff (collectively, the “Nicoloff Entities”).
16         10.   These loan applications included altered documentation and
17   other false information to obtain loans guaranteed by the SBA through
18   the Paycheck Protection Program (“PPP”), which is a program created
19   by the Coronavirus Aid, Relief, and Economic Security Act, also known

20   as the CARES Act.

21         11.   W. Nicoloff obtained over $1.5 million in PPP loans from

22   lenders, including US Bank, NA (“US Bank”) and Transportation

23   Alliance Bank, dba TAB Bank (“TAB”).        The table below identifies the

24   PPP loans obtained by W. Nicoloff:

25                DATE              ENTITY             AMOUNT              BANK
26          4/20/2020          Stonecreek         $20,832            US Bank
27

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                                             3
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 1          5/6/2020           Coastridge         $250,990           TAB
 2          5/15/2020          M. Nicoloff        $50,313            US Bank
 3          5/19/2020          W. Nicoloff        $20,832            US Bank
 4          6/16/2020          Bentley            $805,207           US Bank
 5          6/17/2020          David Capital      $405,880           US Bank
 6                             Total Amount       $1,554,054
 7

 8         12.   Instead of using loan proceeds for their intended purpose,
 9   and in contravention of the rules of the PPP program, W. Nicoloff
10   misappropriated the loan proceeds for personal benefit by using the
11   loan proceeds for securities trading activity unrelated to the
12   businesses for which the PPP loans were obtained.
13   Description of The PPP
14         13.   The Coronavirus Aid, Relief, and Economic Security Act,
15   which is also known as the CARES Act, is a federal law enacted around
16   March 2020 and designed to provide emergency financial assistance to
17   the millions of Americans who are suffering the economic effects
18   caused by the COVID-19 pandemic.        One source of relief provided by
19   the CARES Act was the authorization of up to $349 billion in
20   forgivable loans to small businesses for job retention and certain
21   other expenses, through a program referred to as the PPP.             Around
22   April 2020, Congress authorized over $300 billion in additional PPP
23   funding.
24         14.   In order to obtain a PPP loan, a qualifying business must
25   submit a PPP loan application, which is signed by an authorized
26   representative of the business.        The PPP loan application requires
27   the business, through its authorized representative, to acknowledge
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 1   the Program rules and make certain affirmative certifications in

 2   order to be eligible to obtain the PPP loan.          One such certification

 3   requires the applicant, through its authorized representative, to

 4   affirm that:

 5         [t]he [PPP loan] funds will be used to retain workers and

 6         maintain payroll or make mortgage payments, lease payments,

 7         and utility payments; I understand that if the funds are

 8         used for unauthorized purposes, the federal government may

 9         pursue criminal fraud charges.

10         15.   In addition, the business, through its authorized

11   representative, must state, among other things, the company’s number

12   of employees and average monthly payroll expenses, and provide

13   documentation showing the company’s payroll expenses.           The employee

14   and payroll expense numbers are used to calculate the amount of money

15   the business is eligible to receive under the PPP.

16         16.   In the first instance, the company’s PPP loan application

17   is received and processed by a participating financial institution,

18   and then the application is transmitted to the SBA for further review

19   and assessment of the applicant’s eligibility.          If a PPP loan

20   application is approved, the participating financial institution

21   funds the PPP loan using the financial institution’s own monies.

22         17.   PPP loan proceeds must be used by the business on certain

23   permissible expenses, namely payroll costs, interest on mortgages,

24   rent and utilities.      The PPP allows the interest and principal on the

25   PPP loan to be entirely forgiven if the business spends the loan

26   proceeds on these expense items within a designated period of time

27   (usually eight weeks of receiving the proceeds) and uses at least 75%

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 1   of the PPP loan proceeds on payroll expenses.

 2   Submission of Loan Application Seeking PPP Loan For Bentley

 3         18.    On or about May 23, 2020, borrower Bentley submitted an

 4   application and supporting documentation for a PPP loan in the amount

 5   of $805,207 to US Bank that contained numerous false statements.                The

 6   application falsely stated that: (1) Bentley had forty-two employees

 7   with an average monthly payroll of $322,083; (2) the applicant, W.

 8   Nicoloff, did not own any other business or have common management

 9   with any other business; (3) “All SBA loan proceeds will be used only

10   for business-related purposes as specified in the loan application

11   and consistent with the PPP Rule”; and (4) “The funds will be used to

12   retain workers and maintain payroll or make mortgage interest

13   payments, lease payments, and utility payments, as specified under

14   the PPP Rule.”

15         19.    The supporting documents Bentley submitted to US Bank with

16   the PPP loan application, included IRS U.S. Corporation Income Tax

17   Return (Form 1120) for the year 2019 and IRS Employer’s Annual

18   Federal (Form 941) for the first quarter of 2020 that did not support

19   the statements and certifications described in the previous

20   paragraph.    IRS records appeared to show that these supporting

21   documents had been fabricated because there is currently no record of

22   any Form 1120 or Form 941 being filed for any period by Bentley.

23   There is also no record of any income tax or employment tax payment

24   made by Bentley to the IRS for any period.

25         20.    The PPP application for Bentley contained the Employer

26   Identification Number (“EIN”) XX-XXXXXXX that was obtained online on

27   May 20, 2020.     W. Nicoloff’s social security number, address, and

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 1   telephone number were submitted to the IRS during the online

 2   application process for the EIN.        This indicates fraud because, per

 3   the PPP Application Loan Form, the borrower must certify that the

 4   business was in operation on February 15, 2020.          Bentley was

 5   incorporated in the State of Wyoming on January 14, 2016 and was

 6   inactive as of March 11, 2017.

 7         21.    On the PPP loan application, W. Nicoloff is listed as the

 8   sole owner of Bentley, which purportedly had forty-two employees and

 9   a business address of 4695 MacArthur Ct #11, Newport Beach,

10   California (the “MacArthur Court address”).          The application included

11   a payroll report, which listed purported employee names and

12   addresses.    A search of the first fifteen addresses on the U.S.

13   Postal Service website showed that these addresses do not exist.

14         22.    W. Nicoloff submitted to US Bank a lease invoice related to

15   Bentley (account number ending in 5773) showing a balance for April

16   2020 of $8,192.33 for the MacArthur Court address.           On September 30,

17   2020, an agent went to the MacArthur Court address and determined

18   that the location was owned by Regus, a business that offered

19   “workspaces” and “virtual offices.”

20         23.    Records obtained from Regus showed that account number

21   ending 5773 had not been active since July 31, 2019.           The account was

22   associated to Bentley with W. Nicoloff as the contact.           The service

23   agreement ended on July 31, 2019 and showed only one person using the

24   office space for $501 per month.

25         24.    On or about June 3, 2020, as additional purported support

26   of the Bentley PPP loan application, W. Nicoloff submitted to US Bank

27   what appears to be a Fidelity statement for account 6516, for the

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 1   period of March 1-31, 2020, in the name of Bentley Attn: Mr. William

 2   Nicoloff.    Records obtained from Fidelity showed account 6516 is a

 3   brokerage account in the name of Coastridge, not Bentley.            The

 4   Fidelity statement submitted by W. Nicoloff for Bentley appears to be

 5   fabricated to show false business withdrawals, including the

 6   $8,192.33 invoice from Regus, and also to show that the business

 7   purportedly maintained a bank account.

 8         25.   On or about June 16, 2020, Bentley’s PPP loan application

 9   was approved, and US Bank paid approximately $805,207 in fraudulently

10   obtained loan proceeds to Account 6516.

11   Submission of Loan Application Seeking PPP Loan For David Capital

12         26.   On or about May 26, 2020, David Capital submitted a PPP
13   loan application and supporting documentation to US Bank in the
14   amount of $405,880.      The application falsely stated that: (1) David
15   Capital had nineteen employees with an average monthly payroll of
16   $162,352; (2) the applicant, or any owner of the applicant did not
17   own any other business or have common management with any other
18   business; (3) “All SBA loan proceeds will be used only for business-
19   retailed purposes as specified in the loan application and consistent

20   with the PPP Rule;” and (4) “The funds will be used to retain workers

21   and maintain payroll or make mortgage interest payments, lease

22   payments, and utility payments, as specified under the PPP Rule.”

23         27.   The supporting documents for David Capital included an IRS

24   U.S. Corporation Income Tax Return (Form 1120) for the year 2019, and

25   IRS Employer’s Annual Federal Tax Return (Form 944) for the year

26   2019, and an IRS Employer’s Quarterly Federal Tax Return (Form 941)

27   for the first quarter of 2020.       The IRS has no record of any Form

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 1   1120, Form 944 or Form 941 currently on file with the IRS for any

 2   period by David Capital.      IRS has no record of any income tax or

 3   employment tax payment made by David Capital for any period.            It

 4   appears that the supporting IRS documents submitted by W. Nicoloff

 5   were fabricated.     W. Nicoloff’s social security number is listed as

 6   the Tax Identification Number (“TIN”) or Individual Taxpayer

 7   Identification Number (“ITIN”) of the principal owner of David

 8   Capital.

 9         28.   On the PPP loan application, W. Nicoloff was listed as the

10   sole owner of David Capital, with a business address located at 4000

11   MacArthur Blvd #600, Newport Beach, California.          The payroll reports

12   submitted to US Bank for David Capital listed nineteen employees who

13   were also listed on Bentley’s payroll report of forty-two employees.

14   The payroll reports for Bentley and David Capital allege that the

15   same nineteen employees who work forty hours for Bentley also work

16   forty hours for David Capital.

17         29.   On or about June 11, 2010, at the request of US Bank, W.

18   Nicoloff provided a cancelled check from a bank account for purposes

19   of funding the loan.      W. Nicoloff emailed to US Bank a cancelled

20   check allegedly from David Capital’s Fidelity account ending in 8041

21   that cleared approximately on May 5, 2020.         Fidelity records for the

22   account ending in 8041 showed that no checks cleared in May 2020, and

23   that the account was held in the name of W. Nicoloff and M. Nicoloff,

24   not David Capital.     The cancelled check submitted appeared to be

25   altered and never negotiated, and the back of this check appeared to

26   be the same as a cancelled check submitted on another PPP loan

27   application.    No actual accounts at Fidelity or elsewhere have been

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 1    identified for David Capital.

 2          30.   On May 27, 2020 W. Nicoloff submitted to US Bank a lease

 3    agreement between LH Property Management and David Capital for a

 4    commercial property lease at 4000 MacArthur Blvd, Suite 600, Newport

 5    Beach, California from March 2016 to March 2021 alleging $4,000 in

 6    monthly rent.     Agents went to that address and discovered the address

 7    was another virtual office/workspace business named Premier

 8    Workspaces.    There was no business named David Capital.

 9          31.   Premier Workspaces’ records showed that W. Nicoloff and

10    Stonecreek subscribed to answering services, not physical office

11    space between November 2014 and May 2015.         Premier Workspaces had no

12    other records for W. Nicoloff or any of the Nicoloff Entities.

13          32.   On or about June 17, 2020, David Capital’s PPP loan

14    application was approved, and US Bank paid approximately $405,880 to

15    the Fidelity Account Number 8041 (“Account 8041”).           On or about June

16    17, 2020, approximately $405,880.25 was transferred from Account 8041

17    to Account 6516.

18    Submission of Loan Application Seeking PPP Loan For Stonecreek

19          33.   On or about April 13, 2020, borrower Stonecreek submitted

20    an application and supporting documentation for a PPP loan in the

21    amount of $20,832 that contained numerous false statements.            The

22    application falsely stated that: (1) Stonecreek had one employee with

23    an average monthly payroll of $8,333; (2) the applicant, W. Nicoloff

24    did not own any other business or have common management with any

25    other business; (3) “All SBA loan proceeds will be used only for

26    business-related purposes as specified in the loan application and

27    consistent with the PPP Rule”; and (4) “The funds will be used to

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 1    retain workers and maintain payroll or make mortgage interest

 2    payments, lease payments, and utility payments, as specified under

 3    the PPP Rule.”

 4          34.   The supporting documents submitted to US Bank for the PPP

 5    loan application included an IRS Form 1099-Misc, Miscellaneous

 6    Income, for the tax year 2019 and did not support the statements and

 7    certifications made in the application.         The IRS Form 1099-Misc

 8    reported a payment of $108,900 in nonemployee compensation that was

 9    paid to W. Nicoloff by Stonecreek in 2019.         IRS records found no such

10    Form 1099-Misc filed by Stonecreek under W. Nicoloff’s social

11    security number for the tax year 2019.         On the loan application, W.

12    Nicoloff was listed as the sole owner of Stonecreek and the business

13    address was listed as Ladera Ranch, California2 which is W.
14    Nicoloff’s home residence.
15          35.   On or about April 20, 2020, Stoncreek’s PPP loan was
16    approved, and US Bank paid approximately $20,832 to Stonecreek’s US
17    Bank account ending in 0188 (“USB Account 0188”).
18          36.   On or about April 21, 2020, approximately $15,990 was
19    deposited via check made payable to Coastridge from Stonecreek’s USB

20    Account 0188 to Account 6516.

21    Submission of Loan Application Seeking PPP Loan For M. Nicoloff

22          37.   On or about May 8, 2020, borrower W. Nicoloff submitted an

23    application and supporting documentation for a PPP loan in the amount

24    of $50,313 that contained numerous false statements.           The application

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27          Pursuant to Local Rule 5.2-1, the residence address has been
      omitted from this Complaint.
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 1    falsely stated that: (1) M. Nicoloff had three employees with an

 2    average monthly payroll of $20,583; (2) the applicant, M. Nicoloff,

 3    did not own any other business or have common management with any

 4    other business; (3) “All SBA loan proceeds will be used only for

 5    business-related purposes as specified in the loan application and

 6    consistent with the PPP Rule”; and (4) “the funds will be used to

 7    retain workers and maintain payroll or make mortgage interest

 8    payments, lease payments, and utility payments, as specified under

 9    the PPP Rule.”

10          38.   The supporting documents included an IRS Employer’s

11    Quarterly Federal Tax Return (Form 941) for the first quarter of 2020

12    and a Schedule C, Profit or Loss From Business (sole Proprietorship),

13    for the tax year 2019 and did not support the statements and

14    certifications made in the application.         The Form 941 submitted

15    reported total wages of $36,750 for three employees employed by M.

16    Nicoloff under the business trade name Michelle Nicoloff Photography,

17    and a total employment tax deposit of $13,000 made to the IRS in the

18    first quarter of 2020.      IRS records show no record of any Form 941 on

19    file with the IRS for any period from M. Nicoloff or Michelle

20    Nicoloff Photography.      IRS shows no records of any employment tax

21    deposit paid to the IRS from M. Nicoloff or Michelle Nicoloff

22    Photography.    The Schedule C submitted reported a gross receipt of

23    $335,000 and a net profit of $105,500 for 2019 for M. Nicoloff’s

24    professional photography business.          IRS records show no records found

25    for a Schedule C filed under M. Nicoloff’s social security number for

26    her professional photography business in the 2019 joint income tax

27    return filed with W. Nicoloff.       IRS found no record of any separate

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 1    income tax return filed by M. Nicoloff.

 2          39.   On the PPP loan application, M. Nicoloff’s submitted the

 3    phone number ending 3858 as the “business phone” for M. Nicoloff.

 4    AT&T Wireless subscriber records show this number is W. Nicoloff’s

 5    cell phone number.     The “email address” submitted on the loan

 6    application form was the same email address used by W. Nicoloff on

 7    the other PPP application forms.

 8          40.   The M. Nicoloff PPP loan application listed three employees

 9    of a sole proprietorship.       According to the payroll records submitted

10    with the application, Nicoloff and two other individuals were

11    employees working forty hours as of February 15, 2020.           A search of

12    the addresses provided for the employees, showed that these addresses

13    do not exist.

14          41.   On or about May 15, 2020, M. Nicoloff’s PPP loan was

15    approved, and US Bank paid approximately $50,313 to Account 3501.                On

16    or about May 15, 2020, approximately $45,000 was transferred from

17    Account 3501 to Account 6516.

18    Submission of Loan Application Seeking PPP Loan For W. Nicoloff

19          42.   On or about May 13, 2020, borrower W. Nicoloff submitted a

20    PPP loan application and supporting documentation to US Bank in the

21    amount of $20,832.     The application and supporting documentation

22    contained numerous false statements such that: (1) W. Nicoloff had

23    one employee, himself, with an average monthly payroll of $8,333; (2)

24    the applicant, W. Nicoloff, did not own any other business or have

25    common management with any other business; (3) “All SBA loan proceeds

26    will be used only for business-related purposes as specified in the

27    loan application and consistent with the PPP Rule”: and (4) “The

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 1    funds will be used to retain workers and maintain payroll or make

 2    mortgage interest payments, lease payments, and utility payments, as

 3    specified under the PPP Rule.”

 4          43.   W. Nicoloff submitted supporting documents for the PPP loan

 5    including an IRS Form 1099-Misc, Miscellaneous Income, for the tax

 6    year 2019 and a Schedule C, Profit or Loss From Business (Sole

 7    Proprietorship), for the tax year 2019 that did not support the

 8    statements and certifications in the previous paragraph.            The Form

 9    1099-Misc submitted to US Bank reported $318,050 in nonemployee

10    compensation received by W. Nicoloff in 2019 from a company named

11    Bentley Associates LP.      However, the IRS Form 1099-Misc reported by

12    Bentley Associates LP for W. Nicoloff showed $11,475 in nonemployee

13    compensation paid to W. Nicoloff in 2019.         The Schedule C submitted

14    to US Bank for the PPP loan showed gross receipts of $318,050 and a

15    net profit of $302,217 for W. Nicoloff’s investment banking business

16    in 2019.    W. Nicoloff’s 2019 federal income tax return filed with the

17    IRS, reported gross receipts of $18,050 and a net profit of $2,217 on

18    the Schedule C for W. Nicoloff’s investment banking business.

19          44.   On or about May 19, 2020, W. Nicoloff’s PPP loan was

20    approved, and US Bank paid approximately $20,832 to Account 3501,

21    representing fraudulently obtained loan proceeds.           On or about May

22    20, 2020, approximately $24,191.07 was transferred from Account 3501

23    into Account 6516.

24    Submission of Loan Application Seeking PPP Loan For Coastridge

25          45.   On or about April 28, 2020, borrower Coastridge, submitted

26    an application and supporting documentation for a PPP loan to TAB

27    Bank in the amount of $250,999.        The application and supporting

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 1    documentation contained numerous false statements, such that: (1)

 2    Coastridge had thirteen employees with an average monthly payroll of

 3    $100,396; (2) the applicant, W. Nicoloff, did not own any other

 4    business or have common management with any other business; (3) “All

 5    SBA loan proceeds will be used only for business-related purposes as

 6    specified in the loan application and consistent with the Paycheck

 7    PPP Rule: and (4) “The funds will be used to retain workers and

 8    maintain payroll or make mortgage interest payments, lease payments,

 9    and utility payments, as specified under the PPP Rule.”

10          46.   The supporting documents submitted to TAB Bank for the PPP

11    loan application for Coastridge included IRS U.S. Corporation Income

12    Tax Return (Form 1120) for the year 2019, and four IRS Employer’s

13    Quarterly Federal Tax Returns (Form 941) for each of the four

14    quarters of 2019, did not support the statements and certifications

15    in the previous paragraph.       IRS records found no record of any Form

16    1120 or Form 941 related to Coastridge currently on file with the IRS

17    for any period.     There was also no record of any income tax or

18    employment tax payment made by Coastridge to the IRS for any period.

19    W. Nicoloff’s social security number is listed as the TIN or ITIN of

20    the principal owner of Coastridge.

21          47.   On the PPP loan application for Coastridge, W. Nicoloff was

22    listed as the sole owner of Coastridge with thirteen employees and a

23    business address as Ladera Ranch, California.          The payroll reports

24    submitted on behalf of Coastridge listed the same thirteen employees

25    that appeared on Bentley and David Capital’s payroll reports.            As

26    with the other W. Nicoloff entities detailed above, a U.S. Postal

27    Service search of the addresses for the alleged employees showed that

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 1    these addresses do not exist.

 2          48.   On September 30, 2020, agents went to the business sites

 3    address as listed on the PPP loan application.          The address is a

 4    single-family home located in a residential area and does not appear

 5    to be a business complex that would support thirteen employees.

 6          49.   As part of the loan process, W. Nicoloff submitted to TAB

 7    Bank, a California Secretary of State (“CA-SOS”) Statement of

 8    Information document signed by W Nicoloff on February 15, 2020 for

 9    Coastridge that referenced State File number 2395610.           This is not a

10    valid CA-SOS file number. Further, a search of Delaware Secretary’s

11    Office website referenced on the submitted certificate showed the

12    certificate belonged to a company name Billiken Buyer, Inc.

13          50.   On or about May 6, 2020, Coastridge’s PPP loan application

14    was approved, and TAB Bank paid approximately $250,990 to Account

15    6516, representing fraudulently obtained loan proceeds.

16    Tracing Analysis for Account 6516

17          51.   On or about April 1, 2020, before any PPP loan proceeds
18    were paid or transferred into Account 6516, the balance was
19    approximately $296,424.83.

20          52.   On or about September 30, 2020, the balance of Account 6516

21    was approximately $2,003,621.96.        The table below shows the various

22    activities that occurred from April 1, 2020 to September 30, 2020:

23
         Date/Period            Acti                    Amount           Balance
24                               it
        04/01/2020     Balance before PPP Loan                       $296,424.83
25                     Proceeds
        04/01/2020     PPP Loan Proceeds             $1,547,258.32
26      to             Paid or Transferred
        09/30/2020     from various Nicoloff
27                     Entities
28

                                             16
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 1      04/01/2020     Securities Bought            ($6,916,135.83)
        to
 2      09/30/2020
        04/01/2020     Securities Sold                 $7,107,229.83
 3
        to
 4      09/30/2020
        04/01/2020     Dividends, Interest,               $11,219.40
 5      to             and Other Income
        09/30/2020
 6      04/01/2020     Non-PPP Loan                        $5,355.33
 7      to             Proceed
        09/30/2020     Transfers In
 8      04/01/2020     Transfers Out                    ($32,738.73)
        to
 9      09/30/2020
        04/01/2020     Margin Interest                  ($14,991.19)
10      to
11      09/30/2020
        04/01/2020     Net Change                                      $1,707,197.13
12      to
        09/30/2020
13      09/30/2020     Balance                                         $2,003,621.96
14

15
            53.    The following table details how the approximately
16
      $1,547,258.32 of fraudulently obtained PPP loan proceeds were paid or
17
      transferred into Account 6516:
18
            DATE         NICOLOFF          AMOUNT            PPP           METHOD
19
                          ENTITY                           LENDER
20
        04/21/2020      Stonecreek       $15,990.00       US Bank
                                                                        Check Deposit
21                                                                      from US Bank
22                                                                      x0188 to‘6516
        05/06/2020      Coastridge       $250,990.00      TAB Bank      Paid from TAB
23
                                                                        Bank to ‘6516
24
        05/15/2020     M. Nicoloff       $45,000.00       US Bank      Transfer from
25                                                                     ‘3501 to ‘6516
26      05/20/2020     W. Nicoloff       $24,191.07       US Bank      Transfer from
27                                                                     ‘3501 to ‘6516

28

                                             17
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 1      06/16/2020        Bentley         $805,207.00    US Bank     Paid from US
 2                                                                   Bank to ‘6516
        06/17/2020         David         $405,880.25     US Bank     Paid from US
 3                        Capital                                    Bank to ‘6516
 4
                           Total
 5                                      $1,547,258.32
                          Amount
 6

 7            54.   During the period between January 1, 2020, and February 28,

 8    2020, W. Nicoloff did not purchase or sell any securities in account

 9    6516.    Therefore, there were no realized gains or losses in Account

10    6516 during that period.

11            55.   During the period between April 1, 2020, and September 30,

12    2020, once PPP loan proceeds were either paid or transferred into

13    Account 6516, W. Nicoloff purchase approximately $6,916,135.83 and

14    sold approximately $7,107,229.83 in securities, increasing the

15    balance in Account 6516 by $1,707,197.13.

16    Tracing Analysis for Account 3501

17            56.   On or about May 15, 2020, and May 19, 2020, US Bank paid

18    approximately $71,145 in PPP loan proceeds into account 3501.

19            57.   On or about May 15, 2020, and May 20, 2020, approximately

20    $69,191.07 was transferred from Account 3501 into Account 6516.

21    $1,953.92 in PPP loan proceeds remained in Account 3501.

22            58.   The Defendant Funds exceed the total amount of the PPP

23    loans granted because the Defendant Funds include trading profits

24    realized by W. Nicoloff through activity in Account 6516.            The

25    trading profits are proceeds of the PPP fraud scheme.

26                                  FIRST CLAIM FOR RELIEF

27            59.   Plaintiff incorporates the allegations of paragraphs 1-58

28

                                              18
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 1    above as though fully set forth herein.

 2          60.   Based on the above, plaintiff United States of America

 3    alleges that the defendant funds constitute or are derived from

 4    proceeds traceable to violations of 18 U.S.C. §§ 1341 (mail fraud)

 5    and/or 1344 (bank fraud).       The defendant funds are therefore subject

 6    to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C).           In addition, to

 7    the extent that the defendant funds are not the actual monies

 8    directly traceable to the illegal activity identified herein,

 9    plaintiff United States of America alleges that the defendant funds

10    are identical property found in the same account or place as the

11    property involved in the specified offense, rendering the defendant

12    funds subject of forfeiture pursuant to 18 U.S.C. § 984.

13                               SECOND CLAIM FOR RELIEF

14          61.   Plaintiff incorporates the allegations of paragraphs 1-58
15    above as though fully set forth herein.
16          62.   Based on the above, plaintiff alleges that the defendant
17    funds constitute property involved in multiple transactions or
18    attempted transactions in violation of 18 U.S.C. § 1956(a)(1)(A)(i)
19    or (a)(1)(B)(i), or property traceable to such property, with the

20    specified unlawful activity being a violation of 18 U.S.C. § 1343

21    (wire fraud) and or 1344 (bank fraud).         The defendant funds are

22    therefore subject to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(A).

23    In addition, to the extent that the defendant funds are not the

24    actual monies directly traceable to the illegal activity identified

25    herein, plaintiff United States of America alleges that the defendant

26    funds are identical property found in the same account or place as

27    the property involved in the specified offense, rendering the

28

                                             19
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 1    defendant funds subject of forfeiture pursuant to 18 U.S.C. § 984.

 2                                THIRD CLAIM FOR RELIEF

 3          63.   Plaintiff incorporates the allegations of paragraphs 1-58

 4    above as though fully set forth herein.

 5          64.   Based on the above, plaintiff alleges that the defendant

 6    funds constitute property involved in multiple transactions or

 7    attempted transactions in violation of 18 U.S.C. § 1957(a), or

 8    property traceable to such property, with the specified unlawful

 9    activity being a violation of 18 U.S.C. § 1343 and or 1344.            The

10    defendant funds are therefore subject to forfeiture pursuant to 18

11    U.S.C. § 981(a)(1)(A).      In addition, to the extent that the

12    defendants are not the actual monies directly traceable to the

13    illegal activity identified herein, plaintiff United States of

14    America alleges that the defendant funds are identical property found

15    in the same account or place as the property involved in the

16    specified offense, rendering the defendant funds subject of

17    forfeiture pursuant to 18 U.S.C. § 984.

18          WHEREFORE, plaintiff United States of America prays:

19          (a)   that due process issue to enforce the forfeiture of the

20    defendant funds;

21          (b)   that due notice be given to all interested parties to

22    appear and show cause why forfeiture should be not be decreed;

23          (c)   that this Court decree forfeiture of the defendant funds to

24    the United States of America for disposition according to law; and

25    ///

26    ///

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                                             20
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 1          (d)   for such other and further relief as this Court may deem

 2    just and proper, together with the costs and disbursements of this

 3    action.

 4     Dated: August 6, 2021                TRACY L. WILKINSON
                                            Acting United States Attorney
 5                                          SCOTT M. GARRINGER
                                            Assistant United States Attorney
 6                                          Chief, Criminal Division
                                            STEVEN R. WELK
 7                                          Assistant United States Attorney
                                            Chief, Asset Forfeiture Section
 8

 9                                            /s/Brent A. Whittlesey
                                            BRENT A. WHITTLESEY
10                                          Assistant United States Attorney
11                                          Attorneys for Plaintiff
                                            UNITED STATES OF AMERICA
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